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                                      #:881



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6    Counsel for Plaintiffs and the Putative Class
7
8                  UNITED STATES DISTRICT COURT FOR THE
9                      CENTRAL DISTRICT OF CALIFORNIA
10
11
     TESSIBLE “SKYLER” FOSTER;                 Case No. 2:23−cv−07441−AB−PVC
12
     MARIE SCOTT; and KRISTA
13   BAUMBACH
                                                PLAINTIFFS’ NOTICE OF
14                                              MOTION AND MOTION FOR
15               PLAINTIFFS,                    FINAL APPROVAL OF CLASS
     V.                                         ACTION SETTLEMENT
16
     800-FLOWERS, INC., D/B/A 1-800-            AGREEMENT
17   FLOWERS.COM, HARRY & DAVID,
18   PERSONALIZATION MALL,
     SHARI’S BERRIES, 1-800-                   Hearing Date: Jan. 31, 2025
19   BASKETS.COM, SIMPLY                       Hearing Time: 1:30 p.m.
20   CHOCOLATE, FRUIT                          Courtroom: 7B
21   BOUQUETS.COM, CHERYL’S                    Judge: Hon. André Birotte Jr.
     COOKIES, THE POPCORN
22   FACTORY, WOLFERMAN’S
23   BAKERY, AND VITAL CHOICE,
24
25               DEFENDANT.
26
27
28

                                   NOTICE OF MOTION
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1          TO THE COURT, ALL PARTIES, AND THEIR RESPECTIVE

2    ATTORNEYS OF RECORD, PLEASE TAKE NOTICE THAT on January 31,

3    2025, at 1:30 p.m., or as soon thereafter as this matter may be heard in the United

4    States District Court for the Central District of California, 350 West First Street,

5    Los Angeles, CA 90012, Courtroom 7B, Plaintiffs Tessible “Skyler” Foster, Marie

6    Scott, and Krista Baumbach (“Plaintiffs”), on behalf of themselves and all others

7    similarly situated, by and through their counsel of record, will and hereby do move

8    the Court, pursuant to Federal Rule of Civil Procedure 23, for an Order:

9          1.     Approving the proposed class action Settlement Agreement as fair,

10   reasonable, and adequate to Plaintiffs and the Settlement Class Members, and

11   directing the Settlement’s consummation according to its terms;

12         2.     Finding that the Settlement Class Notice Program: (a) constituted the

13   best practicable notice; (b) constituted notice that was reasonably calculated under

14   the circumstances to apprise the Settlement Class of the pendency of the Action, of

15   their right to object to or exclude themselves from the proposed Settlement, of their

16   right to appear at the Final Approval Hearing, and of their right to seek monetary

17   and other relief; (c) constituted reasonable, due, adequate, and sufficient notice to

18   all Persons entitled to receive notice; and (d) met all requirements of Due Process

19   and any other applicable law (including, but not limited to, Fed. R. Civ. P. 23 and

20   California state law), and that the CAFA Notice sent by the Settlement

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1    Administrator complied with 28 U.S.C. § 1715 and all other provisions of the Class

2    Action Fairness Act of 2005;

3          3.     Finding that all Settlement Class Members shall be bound by the

4    Settlement, including the release provisions;

5          4.     Directing that judgment be entered dismissing with prejudice all

6    individual and class claims asserted in the litigation and ruling that no costs or fees

7    be assessed on either party other than as expressly provided in the Settlement;

8          5.     Incorporating the release and related provisions set forth in the

9    Settlement and barring any Released Claims against the Released Parties;

10         6.     Approving payment of the benefits to the class members consistent

11   with the Settlement; and

12         7.     Retaining jurisdiction of all matters relating to the administration,

13   consummation, enforcement, and interpretation of the terms of the Settlement, the

14   Settlement Agreement, the Final Approval Order and Judgment, and for any other

15   necessary purpose, until all of the terms of the Settlement Agreement have been

16   fully carried out.

17         As discussed in the accompanying memorandum, approval of the Settlement

18   and the related relief requested herein is appropriate under applicable law and well

19   justified under the circumstances of this matter.

20         This motion is based on this notice of motion and motion, the accompanying

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1    memorandum of points and authorities, the Settlement Agreement.

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3          L.R. 7-3 Conference Statement: This Motion is made after conferring with

4    counsel for the defendant following the conference of counsel and is unopposed.

5    Dated: January 24, 2025              Respectfully submitted,

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                                          HEDIN LLP
7                                         By: s/ Frank S. Hedin          .
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10                                        E-Mail:     fhedin@hedinllp.com
                                          Counsel for Plaintiffs and
11                                        the Proposed Settlement Class

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